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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF TEXAS
                            VICTORIA DIVISION

 STATE OF TEXAS; STATE OF
 LOUISIANA,

        Plaintiffs,

                                                     Civ. Action No. 6:21-cv-16
 v.

 UNITED STATES OF AMERICA, et al.,

        Defendants.

      PLAINTIFFS’ REPLY SUPPORTING THEIR MOTION FOR LEAVE
               TO AMEND WITNESS AND EXHIBIT LISTS
       The Defendants identify no prejudice that they will suffer should the Court

permit the States to amend their witness and exhibit lists. Prejudice is the most

important factor to the Court’s consideration—the “touchstone of the inquiry” on

whether to allow leave to amend—and the lack of identifiable prejudice by the

Defendants is reason enough for the Court to permit the amendment. See Lone Star

Ladies Inv. Club v. Schlotzsky’s, Inc., 238 F.3d 363, 368 (5th Cir. 2001) (addressing
Rule 15(a) standard). See also Eminence Capital, LLC v. Aspeon, Inc., 316 F.3d 1048,

1052 (9th Cir. 2003) (“it is consideration of prejudice to the opposing party that carries

the greatest weight”) (citing Lone Star Ladies).

       Defendants point out, as did the States, that the States have already

designated a witness to testify on these matters. What Defendants don’t explain is

why the Court’s consideration of these emails, emails sent by their employees, would

unduly prejudice their case. They point to no effort expended, or strategies adopted,

or tactics foregone based on the non-designation of these emails or their sponsoring

witness. Cf. Betzel v. State Farm Lloyds, 480 F.3d 704, 708 (5th Cir. 2007)
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(differentiating party that “trivially relied” on lack of testimony from parties that

would have seen “significantly increased litigation expenses since they had already

prepared their motion for summary judgment in reliance on” lack of testimony). If

there is prejudice to Defendants from admitting this evidence, they do not identify it.

       Nor do their other objections bear much weight. If the emails or testimony are

as unimportant and irrelevant as Defendants believe, ECF 168 at 3, then preparing

to address them at trial will be trivial. 1 If the evidence does not actually establish

harm, id. at 3–4, then the Court’s considering them will not affect its final judgment.

And if Mr. Moore were being offered solely to discuss the authenticity of the emails

rather than to explain the context in which they were sent and received and describe

the meaning he derived from them, see id. at 4, then his testimony might, in fact, be

merely cumulative. But if the emails and testimony are important and go to the

merits of the case (they do)—and if considering them will not actually prejudice

Defendants—then this Court should grant leave to amend and permit the States to

present both the emails and the testimony related to them.

       It is true that Defendants have stipulated that the challenged policy at issue

here “generally applies to detainers, including the rescission of detainers.” ECF 136

¶ 6 (emphasis added). However, these emails show that the challenged policy applies

concretely to specific rescissions that show harm to Texas, and Mr. Moore’s testimony

will not merely authenticate the emails but will provide context regarding his

communications with Defendants on the reasons for the particular rescissions.

Defendants also object (ECF 168 at 4) to emails regarding rescissions under the prior

1   Defendants footnote as “false” the States’ assertion that, “In each case, the ICE personnel
    respond that the reason [a detainer is lifted] is the guidance that the States have been
    challenging in this litigation.” ECF 168 at 3, fn. 1 (quoting ECF 164 at 1) (substitution by
    Defendants). The States thought it clear from the context that “case” referred to Moore’s
    email, not a (potential) deportation proceeding against a particular criminal alien—
    particularly given that, as Defendants recognized, the samples attached as Exhibit C
    contradicted a literalist interpretation. They apologize to the Defendants for the confusion.


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guidance (before the current guidance became effective November 29), but Mr. Moore

will testify that the practices for rescinding detainers under the current guidance are

indistinguishable from under the previous guidance and, consistent with Mr. Clark’s

trial declaration, Plaintiffs’ Trial Exhibit C at ¶ 9, the rescission of detainers for

reasons of enforcement priorities is without precedent before this Administration.

                                    CONCLUSION
      The States of Texas and Louisiana respectfully request that the Court grant

them leave to amend their witness list to include the 22 specified emails and their

witness list to include Robert Moore.

 Dated: January 25, 2022           Respectfully submitted,

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                            CERTIFICATE OF SERVICE
      I certify that on January 25, 2022, this document was filed through the Court’s

CM/ECF system, which automatically serves all counsel of record.

                                      /s/ Ryan D. Walters
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